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7     Attorneys for Plaintiff
8
                         UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
10
                                                )         Case No.
11
       TERRY FABRICANT and KEITH                )
12      HOBBS, individually and on behalf of )              2:20-cv-11771-RGK-AGR
13     all others similarly situated,           )
       Plaintiffs,                              )
14
       vs.                                      )         NOTICE OF VOLUNTARY
15     MONARCH FUNDING, LLC; and                )         DISMISSAL OF ACTION WITH
       DOES 1                                   )         PREJUDICE AS TO PLAINTIFF
16
       through 10, inclusive, and each of them, )         AND WITHOUT PREJUDICE AS
17     Defendants.                              )         TO THE PUTATIVE CLASS.
18
                                                )
                                                )
19

20    NOW COMES THE PLAINTIFFs by and through their attorneys to respectfully
21    move this Honorable Court to dismiss this matter with prejudice as to plaintiff
22    and without prejudice as to the class. No Defendant has filed either an answer or
23    a motion for summary judgment at this time, and no Court order is necessary
24    pursuant          to         the               Fed.            R.     Civ.     P.
25    Respectfully submitted this 23rd Day of February, 2021,
26
                                               By: s/Adrian R. Bacon Esq.
27
                                                    Adrian R. Bacon
28                                                Attorney for Plaintiff



                                         Notice of Dismissal - 1
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1                             CERTIFICATE OF SERVICE
2
      Filed electronically on February 23, 2021, with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on February 23, 2021, to:
6

7
      To the Honorable Court, all parties and their Counsel of Record

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9                                             By: s/Adrian R. Bacon Esq.
                                                   Adrian R. Bacon
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                                                   Attorney for Plaintiff
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                                        Notice of Dismissal - 2
